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                             Exhibit “A”
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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NEW YORK
         ------------------------------------------------------------------------------X
         CHAMPIONS LEAGUE, INC. AND                                                      Index #:
         CHAMPIONS LEAGUE PARTNERS, INC.,
                                                                                         Plaintiff designates New York
                                                     Plaintiffs,                         County as the place of trial
                        against-
                                                                                                  Summons
         BIG3 BASKETBALL, LLC,
                                                                                           The basis of venue is Plaintiff’s
                                                     Defendant.
                                                                                           Principal Business Address

         ------------------------------------------------------------------------------X

         To the above named Defendant

                 You are hereby summoned to answer the complaint in this action and to serve a
         copy of your answer, or, if the complaint is not served with this summons, to serve a notice of
         appearance on the Plaintiffs’ Attorney within 20 days after the service of this summons,
         exclusive of the day of service (or within 30 days after the service is complete if this summons is
         not personally delivered to you within the State of New York); and in case of your failure to
         appear or answer, judgment will be taken against you by default for the relief demanded in the
         complaint.

         Dated: New York, New York
                September 1, 2017                                               By:        ________________________
                                                                                           Wesley J. Paul Esq.
                                                                                           902 Broadway, 6th Floor
                                                                                           New York, New York 10010
                                                                                           (646) 202-2532
                                                                                           Attorney for Plaintiffs
         TO:     BIG3 BASKETBALL, LLC
                 Corporation Service Company
                 251 Little Falls Drive
                 Wilmington, DE 19808
                 (302)-636-5401




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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NEW YORK
                                                                      Index No.

          CHAMPIONS LEAGUE, INC. AND
          CHAMPIONS LEAGUE PARTNERS, INC.,

                                               Plaintiffs,
                         against-                                     VERIFIED COMPLAINT

          BIG3 BASKETBALL, LLC,

                                               Defendant.



                Plaintiffs by its attorney, Wesley J. Paul, Esq., with an office at 902 Broadway, 6th Floor,

         New York, New York 10010, complaining of the Defendant, states to the Court and alleges as

         follows:

                                                     PARTIES

            1. At all times hereinafter mentioned, the plaintiff, Champions League, Inc. is, was and

                remains a New York Corporation, organized and existing under the laws of the State of

                New York, with its principal place of business at 630 5th Avenue, New York, New York

                10111.

            2. At all times hereinafter mentioned, the plaintiff, Champions League Partners, Inc., is was

                and remains a New York Corporation, organized and existing under the laws of the State

                of New York, with its principal place of business at 630 5th Avenue, New York, New

                York 10111.

            3. Upon information and belief, defendant Big3 Basketball, LLC (hereinafter the “BIG3”)

                was and is a limited liability company organized under the laws of the State of Delaware.

                The BIG3 has conducted substantial business activities in the State of New York.




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            4. Upon information and belief, defendant Big3 Basketball, LLC was and is a Delaware

               limited liability company authorized to do business in the State of New York.

                                                    BACKGROUND

            5. Champions League, Inc. is a corporation formed under the laws of the State of New

               York. CLI was formed in the year 2014. Champions League, Inc.’s wholly-owned

               subsidiary is Champions Basketball League, LLC which was set up to provide

               operational support to Champions League, Inc. in the business of developing, marketing,

               operating and providing support services relating to a newly-formed professional

               basketball league. As used in this Complaint, Champions League, Inc. and Champions

               Basketball League, LLC are collectively defined as “CBL.”

            6. CBL aims to provide high-quality, family-oriented basketball entertainment to sports fans

               at an affordable price.

            7. CBL was formed by Carl George. Mr. George was originally trained as a software

               engineer and he also has an extensive business and entrepreneurial background. Mr.

               George has formed and sold several companies and also founded various private equity

               ventures with investments in diverse industries including software, biotech, real estate

               and energy.

            8. CBL was formed out of Mr. George’s recognition of certain gross inefficiencies in the

               market for professional basketball players.

            9. In the United States, most professional basketball players aspire to play in the National

               Basketball Association (“NBA”).

            10. Mr. George recognized that a significant amount of talented players in the NBA who

               were essentially pushed out of the league each year in order to make room for new




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               players, for salary cap reason, or simply for arbitrary reasons not necessarily associated

               with skill. Most, if not all, of these players continued to have the requisite skill level and

               other attributes necessary to continue to play basketball at a high level if they so chose.

            11. Mr. George also recognized that being a former player in the NBA should have special

               recognition that the existing market for the services of professional basketball players did

               not appear to recognize or appropriately reward. Mr. George recognized that in most

               professions, having achieved a particularly high level usually carries with it a

               permanence of status such as graduating from a prestigious university or obtaining a high

               academic degree, but that such lasting reward appeared to be lacking when it came to

               former NBA players.

            12. For the majority of former NBA players, player salaries drop dramatically in most cases,

               in many cases to near zero. Such former NBA players essentially become unemployed

               after being dropped by NBA teams.

            13. Like the recognition that the public and employers often bestow to employees with high

               academic or work achievements, sports fans generally also recognize the time, effort and

               achievement that former NBA players have obtained. Mr. George believes that sports

               fans will continue to recognize that value of having played in the NBA will have after

               players leave the NBA. In particular, certain former NBA players would have particular

               on-going value, such as former NBA players who were named as “All-Stars” or who had

               particularly recognized talents. Mr. George envisioned that the CBL would include a

               number of particularly prominent former NBA players, and that such players would be

               positioned in various cities in as part of the new league that would maximize such

               player’s exposure and help ensure overall competitive balance among the CBL teams.




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            14. Accordingly, Mr. George set out to create a new league, the CBL, that is centered around

               the concepts of providing high value basketball for low cost. Moreover, Mr. George

               focused on developing an overall league structure that would bring unprecedented post-

               player exposure and opportunities for players even after their respective playing days. In

               order to facilitate and assist players with the transition as a player to a league employee,

               Mr. George hired various persons with knowledge of NBA or sports team/league

               operations with a view of creating special off-season training programs for players that

               are designed for the purpose of providing interested players with the skills necessary to

               transition to the league office or various team front offices.

            15. The structure that Mr. George created included, without limitation, running CBL-led

               training camps for children of various ages and levels, cooperating with local educational

               and community enhancement organizations (such as Big Brothers/Big Sisters),

               organizing charitable 3 on 3 tournaments, providing inspirational and morale-enhancing

               activities for the U.S. armed forces, running overseas clinics and exhibitions (particularly

               in China), and co-venturing with musical and other celebrities for overall product

               enhancement.

            16. Mr. George developed his vision and model for CBL over the course of three years from

               2011 to 2014. Mr. George expended hundreds of thousands of dollars of his own money

               in order to research the creation of a new basketball league and the myriad of complex

               issues associated with the formation of CBL.

            17. During the course of the preparation for the formation of the CBL, Mr. George developed

               detailed business plans, business projections, financial forecasts and other proprietary




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               material that he used and adapted in various business presentations to potential investors

               after the formation of CBL.

            18. Starting in 2014 following the formation of CBL, Mr. George, as the CEO and CBL

               proceeded to develop further his vision of creating the new basketball league. In this

               regard, Mr. George was successful in raising over $2 million in connection with private,

               Regulation D (Rule 506) funds from a number of accredited investors.

            19. The overall formation of the league headed by the CBL followed a very precise and

               carefully designed path to help ensure the long term viability of the CBL.

            20. This path included: signing players to play for the CBL when the league launched;

               developing and forming the league and team ownership structures; obtaining television

               and media partners; structuring ownership structures to include fan participation.

            21. A new entity, Champions League Partners, Inc. (“CLP”) was formed for the purpose of

               initially holding interests in the various team entities that were contemplated as part of

               the new league. CLP operates as a separate entity from CBL.

            22. CLP would acquire and hold team interests for income and appreciation.

            23. Separate and apart from CBL, CLP also raised funds. CBL raised approximately $4

               million in connection with private, Regulation D (Rule 506) funds from a number of

               accredited investors.

            24. CBL also developed an innovative program for fans in the new league to become true

               owners commonly referred to as the SuperFAN program.

            25. The SuperFan program took advantage of a new development in the federal securities

               laws which allowed for expedited and more efficient processes in marketing and selling

               public securities. This program is generally known as “crowdfunding”. One specific set




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               of regulations adopted by the Securities and Exchange Commission was Regulation CF,

               which generally permits entities to raise up to $1 million in a “fast-track” basis from the

               public through approved portals.

            26. The first team that was formed and sold under the new league is the Gotham Ballers. The

               Gotham Ballers is based out of New York City and the Gotham Ballers is operated and

               owned by an entity named Gotham Ballers, Inc., a New York entity.

            27. The Gotham Ballers commenced a Regulation CF offering to the public through its

               investment portal in January 2017 and ending in April 2017. The Gotham Ballers raised

               approximately $605,000 from over 1,700 investors.

            28. At all private fundraising events and follow up functions, investors in the private

               offerings were informed that information shared relating to the CBL or CLP was

               confidential and that on-going participation in the private offering would indicate such

               investor’s agreement to keep such information confidential.

            29. During the entire fundraising process, the CBL continued to hold events and exhibitions

               designed to promote the new league. These events included holding player camps and

               exhibition games involving players and personnel who were slated to be part of the new

               basketball league. For the majority of such events, potential investors were all invited to

               attend such events. These events were held at various times throughout 2015 and 2016.

            30. Also during the entire fundraising process from the inception of CBL in 2014, the CBL

               began and continued the process of signing players for the new league. By mid-2016,

               over 140 players had signed contracts with the CBL.

            31. Players who signed with the CBL were generally signed to substantially similar contracts.




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            32. An extensive process was developed to assign players to particular teams. This process

               took into account the player’s history with a particular team location so that if a player

               achieved particular fame in a particular city that had a CBL team, that player would

               generally be assigned to that market.

            33. All CBL player contracts were not limited to a specified term and obligated players to

               report and play with their designated teams once the league provided notice of the

               commencement of the league and/or once the league scheduled a game involving such

               player’s designated team.

            34. Since the CBL was expressly formed with the intention of enhancing player opportunities

               both inside the CBL format as well as outside, the league did not wish to limit players

               from playing on other professional basketball venues that did not directly compete,

               provided that such players be available once the CBL provided adequate notice of the

               commencement of the league.

            35. On or around December 2016, another basketball venture started operations. This

               basketball operation is commonly known as the “BIG3”.

            36. Upon information and belief, the founders of the BIG3 are Ice Cube (legal name is

               believed to be Oshea Jackson), and Jeff Kwatinetz announced their intention to form a

               “new” basketball league that focuses on what is commonly referred to as “3 on 3”

               basketball. CBL focuses more on the traditional “5 on 5” basketball, where each team

               has five players on the court during the playing time.

            37. Upon information and belief, during 2014 and 2015, business associates and

               acquaintances of Mr. Cube and Mr. Kwatinetz attended one or more investor

               presentations given by CBL as part of CBL’s efforts to raise money and promote the




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               CBL. Upon information and belief, business associates of Mr. Cube or Mr. Kwatinetz

               were aware of the CBL’s expansion and ancillary projects which included promotional

               basketball activities involving 3 on 3 basketball games involving former NBA players.

            38. Mr. Cube indicated in various news reports that he obtained his idea to have a 3 on 3

               basketball league after Kobe Bryant’s 60 point game in April 2016 (which was Mr.

               Bryant’s last professional NBA game before retirement).

            39. Upon information and belief, the BIG3 started approaching various potential players in

               December 2016, many of whom already signed contracts with the CBL. At this same

               time, players (and in some cases player’s agents who also had relationships with the

               BIG3) who already signed contracts with CBL also informed the CBL of the BIG3’s

               activities. Many of CBL’s players indicated that it was their intention and belief that the

               BIG3’s activities will not prohibit players from participating in CBL’s activities. The

               CBL was informed that the BIG3 will reach out to the CBL and further discuss

               arrangements so that an agreement can be made.

            40. On or around February 16, 2017, Mr. Kwatinetz had a detailed call with Mr. George.

               The main focus of the call would be to discuss and coordinate schedules so that players

               could participate in both the BIG3 as well as the CBL. Mr. George was happy to engage

               in such discussions on behalf of the CBL and CLP because he saw the potential for a

               “win/win” situation whereby each party could benefit from the cross-marketing activities

               of the other.

            41. As a result of such call, the BIG3 and CBL agreed to the following: (a) BIG3 basketball

               activities would be limited to 3 on 3 basketball and that players’ agreements would reflect

               that they could not play in any other 3 on 3 league; (b) both the BIG3 and CBL would




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               allow players to participate in both leagues and that CBL would move its games to

               Tuesday, Wednesday and Thursday so that players could play in the long format Big3 on

               weekends and have time to recover; (c) in the case that there is a conflict with respect to

               any specific player, the BIG3 and CBL agreed to separately discuss on a case-by-case

               basis so that both the BIG3 and the CBL can help maximize player utilization and

               exposure. Mr. Kwatinetz indicated that he would have his attorneys reconfirm the

               agreements in writing, but that the agreements achieved on the phone call would

               nevertheless be binding.

            42. During such call, it was also made clear to the CBL that the BIG3 wanted to announce its

               commencement first because the BIG3 involved a simpler operation and the CBL and

               CLP was still in the process of finalizing team sales by the time the BIG3 was scheduled

               to commence in June 2017. On the basis of the agreements entered into on the February

               16, 2017 phone call, the CBL agreed that the BIG3 would move initially to start up its

               league and that the CBL and CLP would focus more on team sale activities.

            43. The agreements obtained between the CBL and the BIG3 were entirely consistent with

               one of the CBL’s main goals which was to provide qualified former NBA players with

               maximum opportunities during their post-NBA player careers.

            44. During the call with Mr. Kwatinetz, Mr. George also informed generally of the status of

               CBL, the number of players signed by the CBL, and mentioned several signed players by

               name.

            45. Throughout the spring, the BIG3 began to rapidly and significantly increasing marketing

               and promotion efforts and player signings to the Big3, including the signing of 22 players

               who were already signed to the CBL.




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            46. In May and June of 2017, the BIG3 held its tryouts, draft and initial games. The first

               games for the BIG3 were held on June 26, 2017 at the Barclays Center in Brooklyn, New

               York.

            47. Incidentally, Mr. George also communicated with Mr. Kwatinetz that the CBL had

               previously had hosted events at the Barclays Center and Mr. George provided Mr.

               Kwatinetz with courtesy input, suggestions and contacts going forward on how the BIG3

               may wish to proceed in booking the Barclays Center for BIG3 events.

            48. Unknown to CBL at the time, the BIG3’s real intent was to sign these players and then

               prevent their playing in the CBL’s summer games.

            49. Primarily in deference and in abidance with the CBL’s agreements with the BIG3, the

               CBL delayed its launch until the late summer 2017 so that the BIG3 season would be

               largely completed.

            50. In July of 2017, the CBL began notifying its players that the league was going to

               commence and to be prepared to play as required under the CBL player contracts.

            51. To CBL’s surprise, players slated to participate in the CBL’s inaugural game on August

               23, 2017 informed the CBL that they would be unable to participate due to threats made

               by the BIG3. Specifically, such players indicated that the BIG3 had asserted that the

               player agreements prohibited participation in the CBL league for the August 23 game and

               that any player participating in with the CBL would be found in violation of the BIG3

               contract and rules and subsequently significantly fined and/or kicked out of the BIG3.

            52. When the CBL discovered from its players the stance that the BIG3 was taking with

               respect to the CBL’s inaugural game, the CBL immediately tried to contact the BIG3




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               through repeated calls to Amy Trask, Big3’s CEO. All calls or attempts to contact the

               BIG3 by the CBL were not returned.

            53. Several players who were playing for the BIG3 and who also had existing contracts with

               the CBL told the CBL that they were told when they signed with the Big3 initially that

               the BIG3 only restricted participation in other 3 on 3 basketball events. Such players also

               indicated their belief that their contracts do not actually restrict them from playing in the

               CBL but that the threat from the Big3 could cost them their position and their

               participation in the 52% of revenues promised by the Big3 as a season ending bonus pool.

            54. In order to field teams for the CBL’s inaugural game, the CBL initially modified rosters

               so that the August 23, 2017 (the replacement rosters) game could proceed as planned. In

               total 8 (80%) of the CBL’S starting 10 players on the New York and Los Angeles rosters

               were affected by this blocking from the Big3. However, the CBL elected not to proceed

               with the game due to the strong adverse reaction it received to playing with replacement

               rosters from its lead team owners, SuperFan Owners, fans, and the media and the

               continued uncertainty relating to the threats being made by the BIG3 against players

               signed by the CBL.

            55. Upon information and belief, when certain players expressed their desire to participate in

               the CBL games, Mr. Cube confronted the players personally about playing in the CBL

               and threatened the players that they would be fined, not allowed to participate in the 52%

               of revenues bonus pool or replaced on their teams. These threats were also shared with

               the CBL.

            56. The BIG3 was aware that it signed at least 20 players who also signed contracts with the

               CBL. The BIG3 was also aware of the most important and salient aspects of the CBL




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               player contracts as a result of its prior discussions with the CBL as well as the

               participation by the BIG3 founders (or their agents) in various investor meetings held by

               the CBL during 2014, 2015 and 2016. The BIG3 was also aware that the CBL had

               already signed at least 140 players in 2015 and 2016 which was almost two years before

               the BIG3 commenced the BIG3’s games. As a result of the BIG3’s actions in preventing

               CBL signed players from participating in the CBL’s inaugural game on August 23, 2017

               and the ongoing threat to players, the CBL suffered significant harm due to the BIG3’s

               tortious interference with the business activities of the CBL and the CLP.

            57. Also as a result of the BIG3’s actions in preventing CBL signed players from

               participating in the CBL’s inaugural game on August 23, 2017 and the ongoing threat to

               players, the BIG3 violated the terms of the agreement it entered into with the CBL, thus

               causing damage and harm to the CBL and CLP as a result of such breach.

            58. The BIG3 obtained proprietary information belonging to the CBL and CLP. Proprietary

               information includes: (a) the identities of players signed by CBL; (b) the business plan of

               CBL including the CBL’s strategies for obtaining suitable players and for future growth;

               (c) the development of ancillary support services for players to enhance job skills and

               future employment after retirement from playing; (d) the structure of the league and the

               team holding companies; (e) the future expansion projects of the CBL. It appears that a

               majority of the players who entered into agreements with the BIG3 had previously signed

               agreements with the CBL in 2015 or 2016. It also appears that agents for the founders (or

               the founders themselves) of the BIG3 were aware of CBL’s operational plans that were

               provided on a confidential basis only to potential investors in CBL or CLP during the

               private financing rounds. It even appears that the idea of 3 on 3 tournaments was likely




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               derived from CBL’s activities. Nearly a year before the BIG3 announced its 3 on 3

               league, the CBL hosted a “Heroes 3 on 3” tournament on February 20, 2016 in order to

               honor veterans and was a well-publicized event (see video link

               https://www.youtube.com/watch?v=r_jpWWa-zOA&feature=youtu.be). By the BIG3’s

               actions and misappropriation of proprietary information belonging to CBL and CLP,

               significant damage has been done to the CBL and CLP.

            59. The facts stated above indicate that the breaches caused by the BIG3 were willful,

               intentional and made at the time the original agreements commenced between the CBL

               and the BIG3. The facts further indicate that the BIG3 attempted to enter into these

               agreements as a means to procure a competitive advantage over the CBL and to induce

               the CBL to a false sense of security and cooperation. Accordingly, the BIG3 fraudulently

               induced the CBL into agreements that were upheld by CBL, but never intended to be

               honored by the BIG3.

            60. By virtue of the BIG3’s breach which is continuing, the BIG3 continues to be unjustly

               enriched by the improper restrictions the BIG3 appears to continue to try and enforce

               against players who had previously executed contracts with the CBL.



                             AS AND FOR A FIRST CAUSE OF ACTION FOR

                      TORTIOUS INTERFERENCE WITH EXISTING CONTRACT

            61. Plaintiff restates and realleges paragraphs 1 through 60.

            62. To sustain a claim for tortious interference with contract there must have been a valid

               contract with a third party, that the defendant intentionally induced the third party to

               breach its contract with the Plaintiff, that the third party did breach its contract, and that




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               the third party would not have breached its contract with Plaintiff absent Defendant’

               conduct. White Plains Coat & Apron Co., Inc. v Cintas Corp., 8 NY3d 422, 426 [2007].

            63. Starting from 2014, CBL has signed players to contracts for its new league.

            64. These “player contracts,” are valid and enforceable contracts between individual players

               and the league. A sample of such player contract is attached as Exhibit 1.

            65. The player contracts allowed for players to commit to other basketball playing

               opportunities so long as the players were available during the CBL season.

            66. On or around February 16, 2017, Mr. Kwatinetz and Mr. George had a phone call that

               discussed, among other things, the number of players contractually signed by the CBL,

               and included the names of several specific players. Thus, Mr. Kwatinetz had actual

               knowledge of the player contracts with the CBL.

            67. Following the phone call on February 16, and unknown to CBL at the time, the Big3

               started to sign players to highly restrictive contracts that prohibited the Big3 players from

               participating in CBL games, thus forcing these players to break their contracts with CBL.

            68. In late July early August 2017, when CBL notified and requested that the players to be

               prepared for the opening CBL game, CBL learned that the BIG3 had restricted these

               players from playing for the CBL and had also personally threatened the players if they

               did so. This directly affected 8 of the 10 starters planned for the game between the NY

               and LA teams.

            69. Due to Defendant’s intentional conduct, Plaintiffs’ have suffered damages in loss of

               value, lost profits and other damages in an amount not less than $100 million.




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                              AS AND FOR A SECOND CAUSE OF ACTION FOR

                                            PROMISSORY ESTOPPEL

            70. Plaintiff restates and realleges paragraphs 1 through 69.

            71. In order for a party to bring a claim for promissory estoppel, the party must allege that

               there was a promise that is sufficiently clear and unambiguous, the party reasonably

               relied upon the promise and that reliance caused injury to the party. Schroeder v.

               Pinterest Inc., 133 AD 3d 12 - NY: Appellate Div., 1st Dept. 2015.

            72. On February 16, 2017, Mr. Kwatinetz and Mr. George had a phone call whereby they

               agreed that (a) BIG3 basketball activities would be limited to 3 on 3 basketball; (b) both

               the BIG3 and CBL would use their commercially reasonable best efforts to coordinate

               schedules to allow players to participate in both basketball activities; (c) in the case that

               there is a conflict with respect to any specific player, the BIG3 and CBL agreed to

               separately discuss on a case-by-case basis so that both the BIG3 and the CBL can help

               maximize player utilization and exposure, in accordance with the player’s wishes (the

               “February 2017 Agreements”).

            73. As a result of this oral agreement, the Plaintiffs relied upon BIG3’s promise to permit

               CBL signed players to also engage in other basketball-related activities so long as these

               players would be available to play for CBL when the season started.

            74. The Big3 then reneged on the agreement stated in paragraph 72, threatening these players

               if they played for the CBL. The Plaintiffs reliance on BIG3’s promise has caused injury

               to the Plaintiffs because these signed players were unable to play for the CBL.

            75. Due to Defendant’s breach of its promises, Plaintiffs’ have suffered damages.




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                                AS AND FOR A THIRD CAUSE OF ACTION FOR

                                            BREACH OF CONTRACT

            76. Plaintiff restates and realleges paragraphs 1 through 75.

            77. The following elements must be plead on a breach of contract claim: 1) a valid and

               enforceable contract; 2) the plaintiff’s performance of the contract; 3) breach by the

               defendant; and 4) damages.

            78. The February 2017 Agreements between CBL and the BIG3 constituted a legal, valid and

               binding contract under the laws of the State of New York.

            79. CBL provided good and valuable consideration to the BIG3 by (a) agreeing to delay

               commencement of the CBL season to largely avoid overlap with the BIG3 season and (b)

               minimize disruption to the BIG3 season, among other good and valuable consideration.

            80. The BIG3 agreed to, among other things, that its basketball activities would be strictly

               limited to 3 on 3 basketball and that the BIG3 would not limit any of the BIG3 players

               from participating in the CBL 5 on 5 basketball league, provided that CBL upheld its

               agreements during the BIG3 season.

            81. CBL and CLP fully abided by and completed any and all obligations under the February

               2016 Agreements.

            82. When the CBL league season was announced to begin, the BIG3 refused to allow “its”

               players to participate despite such players already being bound by previously executed

               agreements. The BIG3 threatened such players with penalties, sanctions and other forms

               of punishment.




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            83. By so doing, the BIG3 breached the terms and the intent of the February 2016

               Agreements, thereby causing CBL and CLP damages in an amount not less than $100

               million.



                              AS AND FOR A FOURTH CAUSE OF ACTION FOR

                          MISAPPROPRIATION OF PROPRIETARY INFORMATION

            84. Plaintiff restates and realleges paragraphs 1 through 83.

            85. To establish misappropriation of proprietary information, plaintiffs must allege that “it

               possessed a trade secret and that Defendant are using such trade secret as a result of

               discovery by improper means.” NYWC, Inc. v. Pro Beauty Concepts, Inc., 2014 NY Slip

               Op 50546 - NY: Supreme Court 2014.

            86. During CBL’s and CLP’s respective fundraising activities in 2014, 2015 and 2016, CBL

               and CLP provided various investors with confidential, proprietary information relating to

               CBL and/or CLP.

            87. Upon information and belief, agents or associates of the BIG3 founders were present at

               one or more investor meetings relating to CBL or CLP.

            88. Upon information and belief, it was during such meetings that the BIG3’s founders

               utilized confidential information, strategy and proprietary business information learned in

               the context of CBL or CLP investor presentations to form the basis for the BIG3

               basketball league and developed at great cost and expense.

            89. The misuse of such information constitutes an unlawful commercial exploitation of the

               proprietary and confidential information of CBL and CLP.




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            90. Such misuse of the confidential and proprietary information of the CBL and CLP has

               resulted in damage to the business and originally business prospects of CBL and CLP as

               stated to various potential and actual investors in CBL and CLP, in an amount not less

               than $100 million.



                               AS AND FOR A FIFTH CAUSE OF ACTION FOR

                                    FRAUD/FRAUD IN THE INDUCEMENT

            91. Plaintiff restates and realleges paragraphs 1 through 90.

            92. To plead a cause of action for fraud, a plaintiff must plead a misrepresentation or a

               material omission of fact which was false and known to be false by the defendant, made

               for the purpose of inducing the other party to rely upon it, as well as justifiable reliance of

               the other party on the misrepresentation or material omission and such reliance has

               resulted in injury. Orchid Constr. Corp. v. Gottbetter, 89 AD3d 708 [2d Dept. 2011].

            93. As stated above, the BIG3 entered into agreements and made promised to the CBL and

               CLP pursuant to the February 2017 Agreements.

            94. Upon information and belief, the BIG3 never had the intention of honoring any of its

               agreements pursuant to the February 2016 Agreements. This information is initially

               determined by the CBL through discussions in August 2017 with players who played

               with the BIG3 and who have indicated that they were told by the BIG3 as early as April

               2017 that the BIG3 did not intend to cooperate with the CBL.

            95. By soliciting the agreements of the CBL in February 2017, the BIG3 was engaged in a

               calculated, devious plan to attempt to eliminate a potential competitor from engaging in

               activities that the CBL was originally intending to do and had previously announced in




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               the summer of 2017. Instead, the BIG3 sought agreements with the CBL and CLP under

               the guise of mutual benefit, in order to induce the CBL and CLP to slow down or halt its

               business activities in order for the BIG3 to monopolize the media and markets for

               themselves and the BIG3’s co-venture partners.

            96. The BIG3 then attempted to further perpetuate its fraudulent actions by re-interpreting,

               after signing, contracts it had with the BIG3 as prohibiting any basketball activities, not

               just 3 on 3 basketball, but to also include participating in any activities relating to the

               CBL.

            97. The actions of the BIG3, constituting fraud and fraud in the inducement, caused damages

               to the CBL and CLP in an amount not less than $50 million.



                               AS AND FOR A SIXTH CAUSE OF ACTION FOR

                                              UNJUST ENRICHMENT

            98. Plaintiff restates and realleges paragraphs 1 through 97.

            99. To establish unjust enrichment, the plaintiff must show that the defendant was enriched,

               at the plaintiff's expense, and that it is against equity and good conscience to permit the

               defendant to retain what is sought to be recovered (Georgia Malone & Co., Inc. v Rieder,

               19 NY3d 511, 516 [2012]).

            100. The BIG3’s unlawful actions, as described above, has resulted in widespread publicity

               and value-added to the BIG3’s business and business prospects which have been derived

               almost entirely ill-gotten gains and at the expense of the CBL and CLP.

            101. Such gains and value to the BIG3 have been unjustly obtained and thus the BIG3 has

               been unjustly enriched. Accordingly, the CBL and the CLP seeks to divest the BIG3 of




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                   these unjustly obtained gains and return them to the rightful owners which are the CBL

                   and the CLP.



                                  AS AND FOR A SEVENTH CAUSE OF ACTION FOR

                                                UNFAIR COMPETITION

            102. Plaintiff restates and realleges paragraphs 1 through 101.

            103. The BIG3’s unlawful misappropriation of CBL’s labor, skill, and commercial

                   advantage by exploiting proprietary information belonging to CBL was done in bad faith

                   and allowed the BIG3 to take a windfall in revenue and publicity.

            104. Due to the BIG3’s misappropriation of CBL’s commercial advantage, CBL has been

                   unfairly damaged in its business and its reputation.

            WHEREFORE, Plaintiff demands judgment against Defendant Big3 as follows:

            I.        On the First Cause of Action, judgment against the Defendant in the sum of Fifty

                      Million Dollars ($50,000,000), together with interest, costs, and disbursements;

            II.       On the Second Cause of Action, judgment against the Defendant in the sum of Fifty

                      Million Dollars ($50,000,000), together with interest, costs, and disbursements,

            III.      Alternatively, on the Third Cause of Action, judgment against the Defendant in the

                      sum of Fifty Million Dollars ($50,000,000), together with interest, costs, and

                      disbursements.

            IV.       On the Fourth Cause of Action, judgment against the Defendant in the sum of Fifty

                      Million Dollars ($50,000,000), together with interest, costs, and disbursements.

            V.        On the Fifth Cause of Action, judgment against the Defendant in the sum of Fifty

                      Million Dollars ($50,000,000), together with interest, costs, and disbursements,




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            VI.     On the Sixth Cause of Action, judgment against the Defendant in an amount to be

                    determined at trial, together with interest, costs, and disbursements.

            VII.    On the Seventh Cause of Action, judgment against the Defendant in an amount to be

                    determined at trial, together with interest, costs, and disbursements.

            VIII.   Granting to plaintiffs such other and further relief as this Court deems just and proper,

                    including interest, attorney’s fees, costs and disbursements, punitive damages and

                    injunctive relief.

         Dated: New York, New York
                September 1, 2017
                                                                   ________________________________
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